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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:08CR00289-002 SWW

JACQUELINE GIVENS




                           ORDER OF DISMISSAL


      Pending before the Court is government's motion for dismissal of the

indictment against defendant, Jacqueline Givens, pursuant to Rule 48(a)

of the Federal Rules of Criminal Procedure.

      IT IS ORDERED that the government’s motion [doc #60] for dismissal

of the indictment against the above-named defendant be granted, and the

indictment pending against defendant Jacqueline Givens is dismissed

without prejudice.

      DATED this 1st day of October 2009.

                                        /s/Susan Webber Wright


                                        UNITED STATES DISTRICT JUDGE
